Case 2:05-cr-20181-SH|\/| Document 19 Filed 07/14/05 Pagelon- Page|D 4

Fg£I) BY , - D.C.
IN T:H:E: UNITED sTATES :DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE 05 Hn_\h gui\=nh
wEsTERN DIvIsION

ims M. GOU\D
m ‘ .
"""w;n <')f' v PMPHB

 

U'NITED STATES OF AMERICA,
Plaintiff,
vS. CR. NO. 05-20181-Ma

VERLES MORRIS ,

Defendant.

\-._/-._/\-._/-._/-._.¢-._r-._r-._/\-._/

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from June 24, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT Is so oRDERED this day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

mrs dochent entered on the docket sheet in compiiance
with Flu|s 55 and/or 32{b) FRCrP on _-LQQ§' ' /9'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20181 Was distributed by faX, mail, or direct printing on
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PDA

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Honorable Samuel Mays
US DISTRICT COURT

